                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION



 In re:                                            Case No. 20-51066-MAR


     HFV LIQUIDATING TRUST,                        Chapter 11


                   Debtor.                         Honorable Mark A. Randon
                                               /

               STATUS REPORT OF THE HFV LIQUIDATING TRUST
                PURSUANT TO LOCAL BANKRUPTCY RULE 3021-1

          The HFV Liquidating Trust (the “Trust”), respectfully submits this status

report (the “Status Report”) pursuant to Local Bankruptcy Rule 3021-1(b) for the

period from February 18, 2022 through June 6, 2022 (the “Reporting Period”).

                                     Background

          1.    On October 28, 2020, (the “Petition Date”), Henry Ford Village, Inc.

(the predecessor in interest to the Trust) filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

Eastern District of Michigan (the “Bankruptcy Court”).

          2.    On December 6, 2021, the Bankruptcy Court entered the Order

(I) Approving Disclosure Statement on a Final Basis and (II) Confirming Chapter

11 Plan of Henry Ford Village, Inc. [Docket No. 663] (the “Confirmation Order”)



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approving the terms of the chapter 11 plan annexed thereto (the “Plan”).1 The Plan

became effective on January 19, 2022 (the “Effective Date”).                          See Notice of

Effective Date [Docket No. 706].

         3.     As of the Effective Date, Henry Ford Village, Inc. transferred its assets

to the Trust. Sheldon Stone of Capstone Partners was appointed the liquidating

trustee (the “Trustee”) pursuant to the Confirmation Order and Plan.

         4.     On February 18, 2022, the Trust filed its Post-Confirmation Statement

of the HFV Liquidating Trust Pursuant to Local Bankruptcy Rule 3021-1 (the “Post-

Confirmation Statement”), in which the Trust submitted its timetable for substantial

consummation of the Plan and entry of a final decree closing this chapter 11 case.

See Docket No. 722.

         5.     Pursuant to Local Bankruptcy Rule 3021-1(b), this Status Report will

discuss the progress made in the above-captioned case since the entry of the

Post-Confirmation Statement and provide updates to the timetable for substantial

consummation of the Plan.

                                            Claims Resolution

         6.     During the Reporting Period, the Trust filed a Motion for the Entry of

an Order (I) Approving Procedures for Filing Omnibus Objections to Claims,



1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Plan or
    the Post-Confirmation Statement.


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(II) Approving the Form and Manner of the Notice of Omnibus Objections, and

(III) Granting Related Relief [Docket No. 758], which was granted on May 19, 2022.

See [Docket No. 771].

         7.   On June 6, 2022, the Trust filed the First Omnibus Claim Objection of

the HFV Liquidating Trust to (A) Amended or Superseded Claims, (B) Duplicate

Claims, and (C) Certain No Liability Claims [Docket No. 779] (the “First Omnibus

Objection”). A hearing on the First Omnibus Objection is scheduled for July 20,

2022.

         8.   In addition to the First Omnibus Objection, the Trustee has engaged in

an extensive outreach to the holders of certain claims that the Trust determined were

either residents or former residents and offered to enter into to consensual

stipulations that voluntarily modified the claims to match the Debtor’s schedules and

provided for the withdrawal of duplicative and amended claims. As a result of this

process, the Trust has entered into 60 stipulations resolving resident claims.

         9.   The Trust continues to review and reconcile timely filed claims and

anticipates resolving additional claim disputes on a consensual basis. The Trust will

also file additional omnibus objections as necessary to further the claim resolution

process. The Trustee currently anticipates that all claim objections will be filed by

the Claim Objection Bar Date on July 18, 2022. Nevertheless, the Trustee reserves

the right to request necessary extensions of the Claim Objection Bar Date.



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                                 Avoidance Actions

         10.   During the Reporting Period, the Trustee requested documentation

from the Debtor’s Financial Advisor, FTI, and its counsel, Dykema, and performed

an analysis of all potential avoidance actions. The Trustee intends to engage counsel

on to investigate and pursue avoidance actions on a contingency fee basis. This

arrangement will allow the Trust to realize the value for the Avoidance Actions in a

cost-effective manner that preserves bankruptcy estate resources.

                               Adversary Proceedings

         11.   On June 3, 2022, the Trustee filed an adversary complaint

(the “Complaint”) against the Debtor’s former management company and the

Debtor’s former executive director asserting claims for breaches of fiduciary duties,

avoidance and recovery of avoidable transfers, disallowance of defendants’ claims

against the bankruptcy estate and equitable subordination of defendants’ claims. See

Adv. Pro. 22-4094-MAR.

                               Trust Assets and Operations

         12.   The Trustee initiated wind-down of the Debtor’s 403(b) plans. Wind-

down of the benefit plans has required extensive coordination with the respective

plan administrators to provide notice to the effected former employees and arrange

for the final audits of the 403(b) plans.




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         13.    On March 9, 2022, the Trust filed the Motion to Enforce Asset Purchase

Agreement and Exercise Setoff Rights [Docket No. 735], seeking reimbursement

from HFV OpCo, LLC (“Buyer”), the purchaser of the Debtor’s continuing care

retirement community, for certain amounts paid to the City of Dearborn pursuant to

a payment in lieu of taxes agreement. Following a hearing on the motion, the

Bankruptcy Court entered an order allowing the Trust to retain $205,000 of accounts

receivable otherwise payable to Buyer. The Trust continues to work with Buyer to

reconcile accounts receivable and other post-closing issues relating the sale of the

community.

              Necessary Revisions to the Timetable for Substantial Consummate

         14.    The Trustee now anticipates an initial distribution by June 30, 2022.

In effort to conserve estate funds, the Trustee endeavored to resolve as

many objections as practicable without the need for motion practice.             Claims

administration in this case has proven challenging for several reasons, including that

the Debtor’s records related to many former residents were not fully digitized or in

a format that was easily transferred to the Trust. The Trust has also been extremely

careful to protect the rights of residents, former residents, and their beneficiaries. In

some cases, resolving a claim dispute has required coordination among multiple

claimants and verification of beneficiary status.




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         15.   The dates herein are the Trust’s good faith estimate and are subject to

change as circumstances may be required. Based on the revised timetable, the Trust

still expects to seek entry of a final decree closing this chapter 11 case on or before

June 5, 2023. In accordance with Local Rule 3021-1(b), the Trust will inform the

Bankruptcy Court of any revisions to the timetable via status reports filed every six

months until entry of a final decree.

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                                       NOTICE

         16.   The Trust will provide notice of this Status Report to (a) the Office of

the U.S. Trustee; (b) all entities that have filed a request for notice pursuant to Rule

2002 of the Federal Rules of Bankruptcy Procedure.

Dated: June 6, 2022              By: /s/ Eric E. Walker
                                 PERKINS COIE LLP
                                 Eric E. Walker, IL Bar No. 6290993
                                 Kathleen M. Allare, IL Bar No. 6326536
                                 110 North Wacker Drive, Suite 3400
                                 Chicago, IL 60606
                                 Telephone: (312) 324-8400
                                 Fax:        (312) 324-9400
                                 Email:       EWalker@perkinscoie.com
                                              KAllare@perkinscoie.com
                                 -and-
                                 HOWARD & HOWARD ATTORNEYS PLLC
                                 James Morgan
                                 200 South Michigan Avenue, Suite 1100
                                 Chicago, Illinois 60604
                                 Telephone: (312) 456-3414
                                 Fax:          (312) 939-5617
                                 Email:       JEM@h2law.com

                                 Counsel for the HFV Liquidating Trust




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